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     ȱ
 1   JaneȱDoeȱ
     [Redacted]ȱ
 2   Inȱproȱseȱ
     ȱ
 3
 4                                    UNITEDȱSTATESȱDISTRICTȱCOURTȱ
 5                                   NORTHERNȱDISTRICTȱOFȱCALIFORNIAȱ
 6
 7   JaneȱDoeȱ                                            CaseȱNo.ȱȱCȱ07Ȭ05596ȱSIȱ
                                                          ȱ
 8   ȱ        ȱ         Plaintiff,ȱ
                                                          AMENDED NOTICE OF APPEAL
 9   ȱ        vs.ȱ

10   ȱ
     CITYȱOFȱSANȱMATEO,ȱetȱal.,ȱȱ
11
     ȱ            ȱ           ȱ
12
     ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱDefendants.ȱ
13
14
15            The plaintiff in pro se herby files this Notice of Appeal to the 9th Circuit Court of Appeals

16   for the following court orders:

17            10-29-08 Docket# 120 Order on Motion to Dismiss

18            10-30-08 Docket# 121 Order Denying Plaintiff’s Motion for Declaratory Relief

19            12-17-08 Docket# 154 Order on Various Motions

20            12-23-08 Docket# 156 Order Denying Plaintiff’s Motion

21            3-3-09 Docket# 209 Order Denying Plaintiff’s Request for an Extension of Time to File

22            3-19-09 Docket# 215 Order Granting Defendants Motion to Dismiss on Claims

23            4-16-09 Docket# 249 Order on Various Motions

24            4-24-09 256 Order Denying Plaintiff’s Motion to Compel Discovery from Defendants

25            4-29-09 258 Order Regarding Plaintiff’s Motions

26            5-15-09 269 Order Regarding Various Motions

27            6-08-09 271 Order Denying Plaintiff’s Motion to Compel Discovery from Defendants

28            7-01-09 287 Order Denying Plaintiff’s Motion to Compel Discovery from Defendants




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 1         9-15-10 Docket #362 Order Denying Plaintiff’s Motion to Compel Discovery from
 2         Defendants
 3         4-13-2010 Docket #340 Order Denying Plaintiff’s Motion to Amend.
 4         11-10- 2010 Docket # 382 Order Granting Defendant’s Motion for an Extension of Time
 5         to File Motions for Summary Judgment
 6         1-13-2011 Docket # 401 Order Denying Plaintiff s Motion for an Extension of Time to
 7         Oppose Defendants Motions for Summary Judgment
 8         1-20-2011 Docket #407 Order Denying Plaintiff s Motion for an Extension of Time to
 9         Oppose Defendants Motions for Summary Judgment
10         2-9-2011 Docket #420 Order Granting Defendant’s Motion for Summary Judgment
11         2-9-2011 Docket #421 Judgment Granting Defendant’s Motion for Summary Judgment
12         3-17-2011 Docket # 429 Order Granting Costs to San Mateo Police Defendants
13         3-17-2011 Docket#430 Order Granting Costs to San Mateo Sheriff’s Department
14         Defendants
15
16   Dated: March 18, 2011                           ___x______________________________
17                                                   Jane Doe
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